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          EXHIBIT A
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                                                                                                 FILED
                                                                                             18 APR 27 AM 9:00

 1                                                                                       KING COUNTY
                                                                                     SUPERIOR COURT CLERK
 2                                                                                          E-FILED
                                                                                  CASE NUMBER: 18-2-10787-3 SEA
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9                       IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
                                    IN AND FOR THE COUNTY OF KING
10
      RUBY SANGHA and PREMISES LAW                    NO.
11    GROUP,PLLC,
                                                      COMPLAINT FOR NEGLIGENCE,
12
                                  Plaintiffs,         BREACH OF CONTRACT,VIOLATIONS
13
                                                      OF THE WASHINGTON CONSUMER
                            vs.                       PROTECTION ACT,and OTHER
14                                                    WRONGFUL CONDUCT
      WELLS FARGO BANK,N.A.,
15

                                  Defendant.
16


17
          Plaintiffs, RUBY SANGHA and PREMISES LAW GROUP,PLLC, by and through their
18

     counsel, BORIS DAVIDOVSKIY,P.S., complain and allege based on the personal knowledge
19

     regarding own acts and on information and belief regarding all other matters as follows:
20


21                                              I. PARTIES


22        1.1       Plaintiffs: Premises Law Group,PLLC ("Premises"), is a law firm and

23
     professional limited liability company organized under the laws of the State of Washington
24
     and doing business in Bellevue, Washington. Ms. Ruby Sangha is an owner, operator, and
25
     governor of Premises. Ms. Sangha is a resident of the State of Washington, County of King



        COMPLAINT - 1                                                         -LAW   OPPICE      OF-



                                                            ID         BORIS DAVIDOVSKIY, P.S.
                                                                               ATTORNEY 6 COUNSELOR


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                Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 3 of 26



     and an attorney, licensed to practice law in the State of Washington. All acts and conduct

 2   alleged here to have been performed by Ms. Sangha were performed on behalf of Premises.

 3        1.2       Defendant Wells Fargo Bank N.A ("Wells Fargo"), is a national association

4    chartered under the laws ofthe United States. A principal subsidiary of Wells Fargo &

     Company, Wells Fargo is a major multinational financial services provider engaged in

     operating banking institutions and providing financial products and services throughout the

     State of Washington. Wells Fargo is headquartered in Sioux Falls, South Dakota. At all

     relevant times. Wells Fargo and its direct and indirect subsidiaries have transacted business

10   within and from the County of King, and throughout the State of Washington.

11        1.3       Whenever reference is made in this Complaint to any act or omission of a

     corporate defendant, such allegation shall mean that the corporation and its direct and

     indirect subsidiaries did the acts alleged through their officers, directors, agents, employees,

     or representatives while they were acting within the course and scope of their authority.

                                II.    JURISDICTION AND VENUE


         2.1        Jurisdiction is conferred over claims and causes of action by RCW 2.08.010.

18       2.2        Venue is proper in this Court under RCW 4.12.020 and RCW 4.12.025. All

19   the actions and omissions asserted in this Complaint occurred in whole or in part in King

     County, Washington. Wells Fargo also transacts business in King County, Washington.

                                              III.    FACTS


         3.1        Wells Fargo has built its banking business by cross-selling its products and

     encouraging its customers to maintain numerous accounts with Wells Fargo. Indeed, a




       COMPLAINT - 2                                                           -UAW   OFFICE     OF-


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     accounts. This business model has led Well Fargo to promote and tolerate deceptive and

     illegal practices harming consumers while inflating Wells Fargo's bottom line.

         3.2        Wells Fargo promotes this business model system by imposing unrealistic

 4   sales quotas on its employees. Adopted policies have driven Wells Fargo's bankers to

     engage in improper behavior to meet those unreachable goals. Wells Fargo has known about

     and promoted these practices for years, including during the times relevant hereto.

          1.1       In or about 2012, Ms. Sangha formed Premises, a law firm with a focus on

     transactional real estate work. At the time, Premises did not need a trust account because all

     the money coming in was earned and, therefore, deposited into Premises' operating or

11   general business checking account, which Ms. Sangha had opened with Wells Fargo.

          1.2       In early 2014, Ms. Sangha had an opportunity to grow Premises and to begin

     operating as an escrow firm, increasing her income. As an escrow firm, Premises would be

     required to maintain an Interest on Lawyers Trust Account('TOLTA") because Premises

     would not be depositing or otherwise handling funds belonging to others.

          1.3       In or about March 2014, Ms. Sangha consulted with a Wells Fargo

18   representative regarding opening an lOLTA account with Wells Fargo. The Wells Fargo

19   representative expressly solicited Ms. Sangha's business and insisted that, in addition to the

20
     lOLTA account, Ms. Sangha also open "escrow" checking and savings accounts.
21
          1.4       Relying on Wells Fargo's advertisements, solicitations, and express
22
     representations regarding what she needed and that she had nothing to worry about because
23

     she would be fully taken care of, Ms. Sangha proceeded forward.
24

25        1.5       Regarding the lOLTA account specifically, Ms. Sangha explained to the Wells

     Fargo representative the Washington State Bar Association's("WSBA's") specific


       COMPLAINT - 3                                                           -LAW   OFFICE      OF-


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                Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 5 of 26



     requirements, including that the trust account had to be(a)an lOLTA account and (b)set up

 2
     using the Tax ID number of the Legal Foundation of Washington. In addition, Wells Fargo

 3   had to remit the interest earned on the lOLTA account through a remittance report monthly.

 ^   And, Wells Fargo could charge no fees to the lOLTA account because the funds deposited

     into an lOLTA account did not belong to the attorney, here. Premises.

          1.6        Ms. Sangha further explained to the Wells Fargo representative that Wells

     Fargo's failure to comply with the requirements oflOLTA accounts would render her

     incompliant with the WSBA's ethics rules and expose her to potential liability to those

10   whose funds are deposited into Premises' trust account, among other things.

11        1.7        To make sure that Wells Fargo correctly set up Premises' lOLTA account,

     Ms. Sangha even provided a name of another attorney who operated an escrow law firm and

     also maintained an lOLTA account with Wells Fargo, informing Wells Fargo that she

     wanted her to account to be set up just like the attorney's. Having looked up this account,

     the Wells Fargo representative confirmed that Wells Fargo would do so.

          1.8        On or about March 10, 2014, the representative emailed Ms. Sangha,

18   confirming that the representative would be setting up specifically an lOLTA account and

19   scheduling a time for Ms. Sangha to come in to complete the paperwork.
20
          1.9        On April 8, 2014, Ms. Sangha provided additional written instructions to
21
     Wells Fargo regarding how the lOLTA account had to be set up,further reiterating, among
22
     other things, that Premises needed specifically an lOLTA account.'
23


24


25



     A copy ofthe request is attached hereto as Exhibit A.


       COMPLAINT-4                                                             •LAW   OFFICE      OF-


                                                             ID         BOEUS DAVIDOVSKIY, P.S.
                                                                                ATTORNEY 8 COUNSELOR


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             Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 6 of 26



          1.10     On or about April 10, 2014, the Wells Fargo representative opened what Ms.

     Sangha believed was an lOLTA account.

          1.11     In addition, the Wells Fargo representative also opened two "escrow"

^    accounts, a checking and a savings account.

          1.12     During this process, Mr. Sangha provided to Wells Fargo Premises' Operating

     Agreement, along with a copy of the letter from the WSBA regarding lOLTA accounts.

          1.13     Unbeknownst to Ms. Sangha, instead of an lOLTA account, the Wells Fargo

     opened a Real Estate Trust Fund ("RITA") account.

10        i-I4     Further, unbeknownst to Ms. Sangha—and contrary to Well Fargo's express

11   representations—Ms. Sangha was not required, nor did she need, to open any additional

     "escrow" checking or savings accounts. Instead, Premises could continue to use the already

     existing operating or general business checking account for all other deposits not required to

     be deposited into the trust account.

          1.15     Once Wells Fargo informed Ms. Sangha that her "lOLTA" account had been

     fully set up as instructed—which later turned out to be false—Premises began its high-

18   volume escrow services.

19        1.16     It was not until April 29,2015, that Ms. Sangha was shocked to have

     discovered that Wells Fargo had open a RITA account instead of an lOLTA account.

          1.17     By this time, Premises had been operating as a high-volume escrow firm with

     numerous transactions in what Ms. Sangha now knew was a RITA, not an lOLTA, account.

          1.18     Initially, Ms. Sangha had noticed that Wells Fargo had been wrongfully taking




       COMPLAINT - 5                                                          -LAW   OFFICE      OF-



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            1.19       Ms. Sangha had also noticed that other law firms' earnest money checks

      clearly stated "lOLTA" while Premises' checks did not.

            1.20       Ms. Sangha immediately contacted Wells Fargo, at which point Wells

 4    Fargo—to her extreme shock and surprise—informed her that Premises never had an
 5
      lOLTA account.

 6
            1.21       Wells Fargo also informed Ms. Sangha that Premises' documents she had
 7
      provided when the account was opened had never been scanned into Wells Fargo's system,
 8

      causing further frustration and aggravation on Ms. Sangha's part.
 9


10          1.22       Making matters worse, while Wells Fargo was trying to remedy the problem

11    by setting up a true lOLTA account for Premises, Ms. Sangha was shocked to have received
12
      the following email:
13
           "My name is Luis and I am assisting Rowena with this account opening. Will we be
14         opening a RETA or lOLTA?"^

15          1.23       It was clear to Ms. Sangha that Wells Fargo—contrary to its advertisement
16
      and express representations and promises—did not know what it was doing at the time.
17
            1.24       Further, on or about May 11, 2015, the true lOLTA account had not yet been
18
      set up. Ms. Sangha was forced to, again, contact Wells Fargo to reiterate the urgency,
19

      including that Wells Fargo was causing her to sustain further damages and incur more fees
20


21
      as a result of Wells Fargo's failure to timely and properly correct the error.

22          1.25       As part of setting up the true lOLTA account, Wells Fargo sent disclosures

23    and new account forms to Premises for Ms. Sangha's review and signature. Ms. Sangha was
24


25



     - A copy of this email is attached hereto as Exhibit B.


        COMPLAINT - 6                                                            -LAW   OFFtCe      OP-


                                                               ID         BORIS DAVIDOVSKIY, P.S.
                                                                                  ATTORNer a counselor


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              Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 8 of 26



     further shocked to have discovered that those forms were RITA forms applicable to RITA

     accounts only, not lOLTA forms applicable to lOLTA accounts.

          1.26      Although Wells Fargo ultimately managed to open an lOLTA account for

     Premises, Ms. Sangha was, again, shocked when she discovered that Wells Fargo continued

     to improperly charge its fees to the trust account.

          1.27      When confronted. Wells Fargo admitted knowing that the trust account was

     not to be service-charged but, nonetheless, stated that Wells Fargo would continue to charge

     fees to the trust account until the account that had been improperly set up was closed, even

10   though Wells Fargo knew that the funds remaining in the improperly set up trust account did

11   not belong to Premises and, thus, could not have been used to pay for Wells Fargo's fees.

          1.28     Escrow involves multiple transactions occurring per file both disbursements

     and deposits. Each deposit and disbursement from a trust account corresponds to a client's

     file number, each client file opened will begin with '0' and will file once closed will end at

     '0'; hence, each line item on the account bank statement is accounted for.

          1.29     Before the error, all client files originated and closed in the designated

18   account. After the error, because Premises now had to open another account, Premises now

19   had two accounts, with files originating in one account, however, closing in another.

20
     Additionally, there was commingling of files where some parties to the transaction were
21
     depositing funds to the first trust account as per original instructions and other parties to the
22
     same transaction were depositing in the new correctly designated lOLTA account.
23

          1.30     Furthermore, by applying or charging improper fees. Wells Fargo created and
24

25   further exacerbated problems involving Premises' inability to account for the fees that did

     not pertain to a specific file and account for charges, reversals and credits.


       COMPLAINT - 7                                                            -LAW   OFFICE     OF-


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           1.31       Premises' reconciliations were deeply strained due to now having two trust

     accounts and incorrect fees having been applied along with a volume of deposits coming in

     with balance reaching more than $1,000,000. Premises' book balance, trial balance and 3-

     way reconciliation records were severely impacted in this accounting nightmare.

          1.32       Premises immediately retained a reconciliation firm to mitigate Premises'

     damages and to reconcile the two accounts.

          1.33       Indeed, notwithstanding its repeated failures. Wells Fargo had declined to

     provide reconciliation services to Premises to address the issues with the two accounts.

10        1-34       This reconciliation process put a tremendous strain on Premises' high-volume
11   escrow business such that Premises could no longer perform escrow services until all the

     reconciliation issues were resolved.

          1.35       Although Wells Fargo initially denied any liability. Wells Fargo ultimately

     admitted that, although Ms. Sangha had specifically asked for an lOLTA account, a RETA

     account was chosen due to Wells Fargo's error, which was uncovered on April 29,2015.^

          1.36       On information and belief, the representative initially assisting Ms. Sangha

18   with opening of the accounts in question was not qualified to do so. Ms. Sangha later

19   learned the representative was a personal, and not a business, banker. In fact. Wells Fargo

     expressly admitted that the representative who initially opened the accounts in question was

     not qualified to do so and that a business banker should have assisted Ms. Sangha.

          1.37       The personal banker ran the transaction of opening of the account under her

     associate's ID who is a business banker, but that individual was never involved in the




     A copy of Wells Fargo's letters admitting liability are enclosed hereto as Exhibit C.
       COMPLAINT - 8                                                                     LAW   OFFICE      OF-



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          1.38     On information and belief, at the relevant times, Well Fargo had centralized

     functions where business matters, including trust matters, were handled by business

     representatives that were qualified or otherwise competent to do certain tasks, such as open

4    lOLTA accounts, that personal bankers were not sufficiently qualified to do.

          1.39     On information and belief. Premises' accounts in questions were not handled

     by the appropriate representative due to the pressures Wells Fargo would put on its bankers

     to open numerous accounts per customers and the strict quotas Wells Fargo would institute

     regulating the number of new accounts its bankers had to open.

10        1-40     Indeed, on information and belief. Wells Fargo bankers were under intense

11   pressure to meet those quotas. If they failed to do so, their managers would hound, berate,

     demean, and threaten them with, inter alia, termination. And, Wells Fargo bankers or

     employees who did not reach their quotas were often required to work hours beyond their

     typical work schedule and without being compensated for that extra work time.

          1.41     On information and belief. Wells Fargo employees were threatened or

     embarrassed during meetings if they did not meet the previous day's quota. And, since those

18   quotas were often unattainable as there were not enough customers entering a branch daily

19   for employees to meet their quotas through traditional means. Wells Fargo's representatives

     were, therefore, forced to resort to alternative means to meet quotas, including using high

     pressure sales tactics to, as here, deceive or coerce customers into opening additional

     accounts or failing to allow a proper banker to handle the transaction.

         1.42      On information and belief, in addition to deceiving Ms. Sangha into opening




       COMPLAINT-9                                                             •LAW   OFFICE     OF-



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                Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 11 of 26



     or transfer the opening of Premises' lOLTA account to the appropriate banker for fear of not

     meeting her quota.

 3        1.43       Before Wells Fargo's error was uncovered, Premises was making about

 ^   $35,000-$40,000 each month. As a direct and proximate consequence of Wells Fargo's

     actions or omissions, Premises lost several months' worth ofincome in part because

     Premises could perform no escrow services during the period of reconciliation.

          1.44       Additionally, as a direct and proximatele consequence of Wells Fargo's

     actions or omissions, Ms. Sangha ofPremises has(1)incurred thousands of dollars in

]0   reconciliation fees;(2)lost thousands of dollars in attomey's fees in having to deal with

11   Wells Fargo's actions or omissions;(3)lost clients;(4)lost time;(5)suffered
12
     embarrassment and humiliation;(6) suffered aggravation and frustration;(7)suffered
13
     anxiety;(8)suffered unease;(9)suffered emotional distress, including from unfair and
14
     deceptive nature of Wells Fargo's business practices; and (10)incurred expenses, including
15

     in seeking and retaining counsel.
16

     IL     FIRST CAUSE OF ACTION: BREACH OF CONTRACT AND THE DUTY OF
17
                                    GOOD FAITH AND FAIR DEALING
18
          2.1       Plaintiffs re-allege the foregoing allegations and incorporate these allegations
19

     by reference as if fully set forth herein.
20

21        2.2       The relationship between Plaintiffs and Wells Fargo constituted an

22   enforceable contract. In exchange for Plaintiffs' payments and other business. Wells Fargo

23   agreed to open an lOLTA account for Plaintiffs.

24


25




       COMPLAINT -10                                                            •LAW   OFFICE     OP-


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                                                                                 ATTORNEY e COUNSELOR


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                   Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 12 of 26



             2.3        Under Washington law, every contract is subject to an implied duty of good

      faith and fair dealing."^ This duty obligates the parties to a contract to cooperate with each

      other so that each party may benefit from full performance.^
 4           2.4       To identify whether a breach of the duty of good faith and fair dealing has
 5
      occurred, Washington courts have looked to a party's justified expectations under the
 6
      contract. "The duty of good faith requires 'faithfulness to an agreed common purpose and
 7
      consistency with the justified expectations of the other party.'"^
 8

             2.5       Plaintiffs have performed all the conditions, covenants, promises, and
 9


10    agreements required ofthem under the terms of the contract regarding the lOLTA account,

11    or all conditions precedent have otherwise occurred or been waived.

12
             2.6       Wells Fargo failed and neglected to perform its part of the contract or to
13
      tender such performance. Wells Fargo's above-described deceptive, unfair, or otherwise
14
      improper conduct also violated Wells Fargo's contractual duties of good faith to Plaintiffs.
15

             2.7       As a direct consequence of Well Fargo's breach. Plaintiffs have been
16


17
      substantially damaged and continue to be damaged in an amount to be proven at trial, no

18    part of which has been paid.

19    III.     SECOND CAUSE OF ACTION: NEGLIGENT HIRING AND SUPERVISION

20
             3.1       Plaintiffs re-allege the foregoing allegations and incorporate these allegations
21
      by reference as if fully set forth herein.
22


23


24


25

     ** Rekhter v. State, Dep't ofSac. & Health Servs., 180 Wn.2d 102, 112(2014).
     Ud.
      Edmonson v. Popchoi, 172 Wn.2d 272,280(2011)(citing RESTATEMENT(SECOND)OF CONTRACTS §
     205 cmt. a (1981)); see id. cmt. d ("[B]ad faith may be overt or may consist of inaction.").
        COMPLAINT - 11                                                                   LAW   OFFICE     OF



                                                                      B)         BORIS DAVIDOVSKIY, P.S.
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             Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 13 of 26



          3.2       At all times material hereto, Wells Fargo's agents, officers, and employees,

 2    including those directly or indirectly responsible for the accounts in question were under

 3    Wells Fargo's direct, supervision, and control.

 ^        3.3       Wells Fargo further assumed this duty by holding its officers, agents, and

 ^ '' employees out to the public as competent representatives in their given capacities.
          3.4       Wells Fargo also had a duty to exercise reasonable care with the accounts it

      opened and serviced.

 ^        3.5       Wells Fargo breached these duties.
10        3.6       On information and belief, Wells Fargo negligently retained, controlled,

11   trained, and supervised its agents and employees when Wells Fargo knew or should have

      known they acted or would act in the ways described herein.
13
          3.7       On information and belief. Wells Fargo negligently retained, controlled,
14
     trained, and supervised its agents and employees so they committed the wrongful acts
15

     complained of herein against Plaintiffs and other members of the public.
16


17
          3.8       On information and belief. Wells Fargo failed to properly control and

18   supervise them to ensure they would properly open bank accounts, including Plaintiffs'.

19        3.9       Wells Fargo also failed to hire and supervise competent, experienced,

20
      personnel to open or otherwise handle bank accounts with Wells Fargo.
21
          3.10      It was foreseeable to Wells Fargo its agents and employees would engage in
22
     the acts complained of herein. Despite this knowledge, Wells Fargo failed to exercise
23

     reasonable care to supervise or control its agents and employees.
24


25




       COMPLAINT -12                                                           -LAW   OFFICE     DF-


                                                             ID         BORIS Davidovskiy, P.S.
                                                                                ATTORNEY & COUNSELOR


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           3.11      On information and belief, Wells Fargo engaged in the acts alleged herein

      and/or condoned, permitted, authorized, and/or ratified the conduct of its agents and

      employees.

 ^         3.12      As a direct and proximate result of Wells Fargo's negligent hiring, control,
 ^ '' retention, and supervision. Plaintiffs have suffered substantial damages in an amount to be
      proven at trial.

                   IV.    THIRD CAUSE OF ACTION: MISREPRESENTATION

          4.1        Plaintiffs re-allege the foregoing allegations and incorporate these allegations

j0    by reference as if fully set forth herein.

11        4.2       In performing or failing to perform the acts alleged herein, Wells Fargo has

     negligently and/or intentionally made material misrepresentations of fact regarding the

     accounts in question, including that Plaintiffs were required to open additional "escrow"

     accounts.


          4.3       Plaintiffs relied on those representations to their detriment.

          4.4       As a direct and proximate cause of Wells Fargo's misrepresentations.

18   Plaintiffs have been substantially damaged in an amount to be proven at trial.

19        V.      FOURTH CAUSE OF ACTION: VIOLATION OF THE WASHINGTON
                                      CONSUMER PROTECTION ACT
20

21        5.1       Plaintiffs re-allege the foregoing allegations and incorporate these allegations

22   by reference as if fully set forth herein.

23        5.2       Under the Washington Consumer Protection Act, RC W 19.86 ef seq.("CPA"),
24
     "unfair or deceptive acts or practices in the conduct of any trade or commerce" are unlawful.
25
     To prevail in a private claim under the Act, a plaintiff must establish five elements:(1)

     unfair or deceptive act or practice;(2)occurring in trade or commerce;(3) public interest

       COMPLAINT - 13                                                            LAW   OFFICE     OF


                                                              E)         BORIS DAVIDOVSKIY, P.S.
                                                                                 ATTORNEY a COUNSELOR



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               Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 15 of 26



      impact;(4)injury to plaintiff in his or her business or property; and (5)causation.' To show

 2
      that a party has engaged in an unfair or deceptive act or practice, the plaintiff"need not

 3    show that the act in question was intended to deceive, but that the alleged act had the
 4    capacity to deceive a substantial portion of the public."^
 5
            5.3        Even minimal or nominal damages constitute "injury" under the CPA.^ In fact,
 6
      no monetary damages need be proven and that non-quantifiable injuries, such as loss of
 7
      goodwill would suffice.'®
 8

           5.4         Wells Fargo violated the CPA.
 9


10         5.5         Wells Fargo's actions or omissions, as described here, constitute unlawful,

11    deceptive, and unfair business acts within the meaning of the CPA.
12
           5.6        Additionally, on information and belief. Wells Fargo knowingly concealed
13
      and failed to disclose materials facts with the intent that Plaintiffs rely upon such
14
      concealment and nondisclosure, and Plaintiffs did reasonably and justifiably rely on Wells
15

      Fargo's statements and/or omissions.
16

           5.7        Wells Fargo's wrongdoings occurred in the course of the business.
17


18         5.8        Wells Fargo's business practices alleged in this Complaint had the capacity to

19    affect members ofthe public and presented a threat to Plaintiffs and other members ofthe
20
      public. Thus, additional plaintiffs may have been injured in the same manner as Plaintiffs.
21
           5.9        As a direct result of Wells Fargo's conduct, Plaintiffs have been substantially
22
      harmed and continue to be harmed.
23


24


25
     ^ Hangman Ridge Training Stables, Inc v. Safeco Title Ins. Co., 105 Wn.2d 778, 780(1986).
     ® Id. at 785 (citing State v. Ralph Williams' N. W Chrysler Plymouth, Inc.. 87 Wn.2d 298(1976)).
     ^ Panag v. Farmers Ins. Co. of Washington, 166 Wn.2d 27, 57(2009).
     10
        Nordstrom, Inc. v. Tampourlos, 107 Wn.2d 735, 740 1987).
        COMPLAINT - 14                                                                  -LAW   OFFICE      OF-


                                                                      E)         BORIS DAVIDOVSKIY, P.S.
                                                                                         ATTOBNEY 6 COUNSBUOR


                                                                      6100 2[9lh Street SW,Suite 480   T: 425.582.5200
                                                                      Mountlake Terrace, WA 98043      F: 425.582.2222
               Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 16 of 26



          5.10      Plaintiffs are entitled to judgment against Wells Fargo for damages sustained

     as a result ofits unfair and deceptive acts and practices, including treble damages, other

     punitive damages to the extent permitted by law, and attorney fees and costs.

                        VI.    FIFTH CAUSE OF ACTION; NEGLIGENCE

          6.1       Plaintiffs re-allege the foregoing allegations and incorporate these allegations

     by reference as if fully set forth herein.

          6.2       Wells Fargo owed Plaintiffs duties of, inter alia, care in the handling and

     service of the accoimts and transactions in question, including independent of Wells Fargo's

10   contractual duties and obligations.

11        6.3       Wells Fargo breached the duties owed to Plaintiffs.

          6.4       As a direct and proximate consequence of Wells Fargo's negligence, Plaintiffs

     have been substantially damaged and continue to be damaged in an amount to be proven at

     trial, no part of which has been paid.

                 VII.    SIXTH CAUSE OF ACTION: EMOTIONAL DISTRESS
16

jy       7.1       Plaintiffs re-allege the foregoing allegations and incorporate these allegations
18   by reference as if fully set forth herein.

19       7.2        Wells Fargo had duties to Plaintiffs.

20
         7.3        Wells Fargo could foresee that its actions would harm Plaintiffs.
21
         7.4        Wells Fargo breached its duties to Plaintiffs.
22
         7.5        Wells Fargo made false material misrepresentations or omissions regarding its
23

     products and services; failed to take proper care with the handling and servicing of the
24

25   accounts in question; and failed to protect Plaintiffs from being exposed to the above-

     described unreasonable risks and damages.


      COMPLAINT-15                                                               ■LAW   OFPtCE      OF-

                                                                         BORIS Davidovskiy, P.S.
                                                                                  ATTORNEY & COUNSELOR


                                                              6100 219th Street SW, Suite 4«0   T; 425.582.5200
                                                              Mountlake Terrace, WA 98043       F: 425.582.2222
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           7.6        Wells Fargo harassed Plaintiffs by engaging in the above-described actions,

      including by repeatedly engaging in the exact same improper conduct, causing Plaintiffs to

      incur substantial losses.

 4         7.7        As a direct and proximate result of Defendants' actions, Plaintiffs have
 5
      suffered emotional distress, and Wells Fargo's reckless disregard for Plaintiffs' property has
 6
      impacted Plaintiffs' health and overall well-being.
 7

                   VIIL     SEVENTH CAUSE OF ACTION:INJUNCTIVE RELIEF
 8

           8.1       Plaintiffs re-allege the foregoing allegations and incorporate these allegations
 9


10    by reference as if ftilly set forth herein.

11         8.2       A plaintiff may seek injunctive relief for violations of the CPA.''
12
           8.3       Plaintiffs seek an Order enjoining Wells Fargo from its practices in the
13
      unlawful manner described above.
14
           8.4       Plaintiffs also seek an Order enjoining Wells Fargo from the above-described
15

      unlawful activities under the CPA.
16


17
           8.5       Plaintiffs have reason to believe these actions make up a pattern and practice

18    of behavior and have affected other individuals similarly situated.

19         8.6       Injunctive relief is necessary to prevent further injury to Plaintiffs and to the
20
      general public.
21
           8.7       Accordingly,the Court should issue the requested injunctive relief.
22
                                  IX.    VIOLATION OF BANKING LAWS
23

           9.1       Plaintiffs re-allege the foregoing allegations and incorporate these allegations
24


25
      by reference as if folly set forth herein.


     "RCW 19.86.090.
       Scotl V. Cingular Wireless, 160 Wn.2d 843,853(2007).
        COMPLAINT - 16                                                            -LAW   OFFICE      OF-


                                                                B)         BORIS DAVIDOVSKIY, P.S.
                                                                                   ATTORNEr a COUNSELOR


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         9.2         Wells Fargo's actions constitute a violation of federal law governing accounts.

         9.3        As a direct and proximate consequence of Wells Fargo's violations, Plaintiffs

     have been substantially damaged and continue to be damaged in an amount to be proven at

     trial, no part of which has been paid.

                                       PRAYER FOR RELIEF


              WHEREFORE,Plaintiffs pray for the following relief:

      1. Judgment against Wells Fargo for compensatory damages in an amount to be proven at

         trial, with interest at the legal rate on such amount awarded as allowed by law;

10   2. Award of reasonable attorney fees and reimbursement of all costs for the prosecution

11       of this action under the Washington Consumer Protection Act and other theories and

         statutes in the amount to be proven at trial;

     3. Treble damages under RCW 19.86;

     4. Assessment of civil penalties under RCW 19.86;

     5. Restitution;

     6. Punitive damages, as applicable;

18   7. Pre-judgment and post-judgment interest on the entire judgment at the highest rate

19       allowable by law; and

20
     8. Such other and further relief as the Court deems just and proper.
21
     9. Plaintiffs expressly reserve their right to amend their Complaint to allege additional
22
         causes of action as discovery permits.
23

         //
24


25
         //


         //



      COMPLAINT - 17                                                           •LAW   OFFICE     OF-



                                                             ID         BOfUS DAVIDOVSK.IY, P.S.
                                                                                ATTORNEY B COUNSELOR


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              DATED this 26th day of April, 2018.

                                                BORIS DAVIDOVSKIY,P.S.




                                                    raris Davidovskiy,y^SBA #50593
                                               '6100 219th St SW^uite 480
                                                Mountlake Terrace, WA 98043
                                                Email: boris@davidovskiylaw.com
                                                Attorney for Plaintiffs


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     COMPLAINT -18                                                     -LAW   OFFICE      OF-


                                                     ID         BORIS DAVIDOVSICIY, P.S.
                                                                        ATTORNEY B COUNSELOR


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                                                      Mountlake Terrace, WA 98043     F: 425.582.2222
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           EXHIBIT A
       Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 21 of 26




Please complete form and give to y<mr financial institution.

                     REQUEST TO ESTABLISH lOLTA ACCOUNT

TO [Institution]:                                     Date;          ,I           M


if\l-e jIs                  - fy\ed\x>c<.
'Aten hm; Gec^-t'u c\-\stsr
FROM [Lawyer/Firm]:


              ^ :^xrsr^\-V,
The lawyer/law fihm listed above handles client money and is therefore requesting to open an
lOLTA (Interest on Lawyers' Trust Accounts)account with your financial institution. The
propa- handling ofclient money is governed by RFC 1.15A -Safeguarding Property. The
interest earned on lOLTA accounts is remitted to the Legal Foundation ofWashington(LFW).
Youragtutilize^ Foundation's tax identification number on lOLTA accounts. That number
^4l|^^^mp6cause the Legal Foundation ofWashington,the beneficiary ofthe interest on
lOLTA accounts, is a section 501(c)(3) charitable organization,IRS form 1099 should apt be
completed for lOLTA accounts. .

Inquiries may be directed to the Legal Foundation of Washington,lOLTA Manager, Linda
Graham at(206)957-6282,

Comment 15 to RFC 1.15A expressly forbids the use of earnings credits on lOLTA
accounts: lawyer may not receive from financial institutions earnings credits or any
other benefit from the financial institution based on the balance maintained in a trust
account.''


Thank you for your pronq)t attention to this request. Your cooperation and support for this
important program is greatly appreciated.


                                                               Sincerely yours.
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           EXHIBIT B
              Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 23 of 26

 From: Luis,Ruvalcaba@wellsfargo,com
Subject: BETA
  Date: April 29, 2015 at 2:38 PM                                                                                                    O
    To: Tara@premiseslaw.com
    Co: Oaconero@weilsfargo.com


      Hello Tara,
      My name is Luis and I am assisting Rowena with this account opening. Will we be opening a
      RETA or lOLTA? Does there need to be a For Benefit Of client on the account? Will Premises
      Law be the tax responsible customer?
      Thank you.
      Luis Ruvalcaba
      Business Associate
      East King County Business Banking
      Wells Fargo Business Banking 1 205 108th Ave NE,Suite 200! Bellevue, WA 98004
      MAC P6478-022
      Tel 425-450-8058 I Fax 425-450-807 I/ENTERPRISE FAX 866-964-0130
      Luis,Riivalcaha@wellsfar2().com
      This message may contain confidential and/or privileged information. If you are not the addressee or authorized to receive this for the
      addressee, you must not use,copy,disclose, or take any action based on this message or any information herein. If you have received
      this message in error, please advise the sender immediately by reply e-mail and delete this message. Thank you for your cooperation.
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           EXfflBIT C
         Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 25 of 26
                                                                                 Bellevue Medina Office
                                                                                 1130 Bellevne Way NE
                                                                                 Bellevue, WA 98004

                                                                                 Tel: 425 462 5543
                                                                                 Fax: 425 4626530
                                                                                 www.welIsfargo.com




September 20,2017


Regarding Customer:

PREMISES LAW GROUP,PLLC
2704 107™ AVE NE
BELLEVUE WA 98004-2034
UNITED STATES



To Whom It May Concern;

This letter is verification that the business customer named above has an established account
with Wells Fargo Bank. This checking account number xxxxxx5257 was open 04/10/14. During
the opening process, the business customer mentioned in correspondences that an lOLTA
account was required however, a RETA relationship was chosen by mistake. As a result, the
account was setup as a RETA based on bank error and did not convert into lOLTA until
04/29/15 when this was uncovered.

If you need deposit information, refer to the customer named above. The account holder can
provide deposit information from their monthly statements.

Please call the Wells Fargo Customer Service location at 1-800-869-3557(1-800-TO-WELLS)if
you have any questions. We hope that this information is useful.


Sincerely,



Francis Fong
Branch Manager
425-462-5542



                                                                                      Together we'll gofar
        Case 2:18-cv-00724-JCC Document 1-1 Filed 05/17/18 Page 26 of 26
                                                                                     East King County
                                                                                     Business Banking Group
WELLS                                                                                MACP6478-022
FARGO                                                                                205108th Ave NE Suite 200
                                                                                     Bellevue,WA 98004
                                                                                     425 450-8122

                                                                                     Wells Fargo Bank,NA




April 30, 2015



PREMISES LAW GROUP, PLLC
RUBYSANGHA
2704 107TH AVE NE
BELLEVUE WA 98004-2034




RE: WA - RETA account number XXXXX95257




This letter is to address an error in account opening. Premises Law Group,PLLC requested an account to
be opened at the Wells Fargo branch in Medina, WA in April, 2014.The request was to open an lOLTA
account and documentation was provided during account opening. However,the account was opened
as a WA - RETA account under Premises Law Group's EIN, which was not the request of the client.
This error was not noticed until a recent audit completed by Ruby Sangha, owner and attorney of
Premises Law Group,on April 29, 2015.

Ruby immediately Informed Wells Fargo Bank of her findings. To resolve the issue, a new account has
been opened, WA-lOLTA account number XXXXX10045,to replace the existing account that was
opened incorrectly. The new account structure will be identical to the existing account, other than it will
be correctly designated an lOLTA account, bearing the WSBA EIN. Any applicable account analysis fees
will be billed to the designated billing account; avoiding direct debits from the lOLTA account as
required. Premises Law Group, PLLC will phase out the existing account and have it closed when all
transactions have posted.

Please do not hesitate to contact me at(425}450-8083 with any questions or concerns.




Sincerely,




Rowena B. Dacones
Vice President
Sr. Business Relationship Manager
East King County Business Banking Group
